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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


  UNITED STATES OF AMERICA                     §
                                               §
        Plaintiff,                             §
                                               §
  v.                                           §        2:24-mj-00020-BR (1)
                                               §
  NICKOLAS O’BRIEN (1)                         §
                                               §
        Defendant.                             §


                        ORDER ON MOTION FOR CONTINUANCE

         Before the Court is the Defendant’s Unopposed Motion for Continuance (ECF 12) filed

on March 4, 2024 regarding the Preliminary Examination and Detention Hearing set for March 6,

2024.

        The Court finds the motion is well taken, and it is hereby ordered that the motion for

continuance is GRANTED. The hearings are continued and rescheduled to Thursday, March 14,

2024 at 1:30 p.m. in the Mary Lou Robinson United States Courthouse, Second Floor Courtroom,

Amarillo, Texas.

         IT IS SO ORDERED.

         ENTERED on March 4, 2024.



                                                   LEE ANN RENO
                                                   UNITED STATES MAGISTRATE JUDGE




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